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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION


TREVOR FITZGIBBON,
   Plaintiff,                                        Civil Action No.3:19-cv-477-REP


     V.




JESSELYN A.RADACK,
   Defendant.

                       Reply to Notice of Withdrawal of Motion to Sea!

   This Court's October 3,2019 order provides that the "objector...shall file a reply." Objector

therefore submits this brief reply to Ms. Radack's withdrawal of her Motion to Seal.

   "Unless otherwise provided by law, Court rule, or prior order of the Court, no document or

portion of a document may be filed under seal unless the filer has complied with the procedures

set forth herein." E.D. Va. Loc. Civ. R.5(A). One ofthose "procedures" is a motion to file under

seal; the Settlement Agreement filed at Dkt. No. 11 was presumably temporarily sealed "pending

a determination by the Court on the motion to seal." E.D. Va. Loc. Civ. R.5(C).

   But now that the contemporaneous Motion to Seal has been withdrawn, there is no basis to

deny public access to this filed document."Failure to file a timely motion to seal may result in the

document being placed in the public record," id;the withdrawal ofa motion to seal should lead to

the same result. See, e.g., Berman v. Freedom Financial Network, LLC,No. 18-CV-01060-YGR,

2019 WL 4194195, *1 n.l (N.D. Cal. Sept. 4, 2019)(concluding that, after a motion to seal was

largely withdrawn,"[wjithin five business days ofthis Order, all other documents previously filed
provisionally under seal shall be re-filed on the public docket"); Art ofDesign, Inc. v. Pontoon

Boat, LLC, No. 3:16-cv-595-JD-JEM, 2019 WL 3749990, *4(N.D. Ind. Aug. 8, 2019)(granting
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a motion to withdraw motion for leave to file under seal, and therefore directing "the Clerk of

Court to remove the seal" from the previously sealed documents).

   "[judicial proceedings are by default public." Guttenberg v. Emery, 26 F. Supp. 3d 88, 92

(D.D.C. 2014). In the absence ofa motion to seal, that default condition must prevail. And this is

true whether or not the Settlement Agreement was actually relied on by this Court in deciding the

motion.The Agreement was filed in this Court's docket in connection with the September 9,2019

and October 15,2019 Motions to Dismiss(which apparently cited it as Exhibit A,see Dkt. No.7,

at 1 and Dkt. No. 17, at 1."[D]ocuments filed in connection with a summary judgment motion in

a civil case" are judicial records to which the "First Amendment standard should ... apply"

"[bjecause summaryjudgment adjudicates substantive rights and serves as a substitute for a trial,"

Rushford v. New Yorker Magazine, Inc., 846 F.2d 249, 253, 252(4th Cir. 1988); the same logic

applies to documents filed in connection with a motion to dismiss.

    Nor does it matter whether the document has been relied on by the Court. It would be "legal

error" to conclude that"materials are notjudicial documents because[a court] did not rely on them

in adjudicating a motion"—^'*the proper inquiry is whether the documents are relevant to the per

formance ofthejudicial function, not whether they were relied upon."Brown v. Maxwell,929 F.3d

41,50(2d Cir. 2019).

    Objector therefore asks that the document be returned to public access,just as the other docu

ments in this docket are publicly accessible.
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                                         Respectfully submitted,

                                          s/ Eugene Volokh


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           I certify that on Fmday, October 25, 2019,1 seryed this Reply by e-mail on all parties;.all parties

        have consented to such e-mail service. On the; same day, I submitted the Reply to the Court by

        Monday ;4elivery,



                                                                  s/ Eugene Volokh


■c~ ■                                                             Eugene ¥olokhi pro se
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